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                    EXHIBIT C
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                                                       Aquent, LLC.
                                                      Supplier #: 0010000409


                                         STATEMENT OF WORK
                                       FOR OUTSOURCED SERVICES
                                                       SOW #: CNT0027405
                                                       MST #: MST0000017

                                                             Firm Fixed Price

         This Statement of Work # CNT0027405 (“SOW”) is in effect as of September 1, 2023 ("Effective Date”) pursuant
         to the Master Services Agreement dated August 26, 2013 (the “Agreement”) between Aquent, LLC. (“Supplier”)
         and AARP (“AARP”), (each a “Party,” collectively the “Parties”).

         THIS SOW IS NOT AN AUTHORIZATION FOR THE SUPPLIER TO BEGIN WORK. THE SUPPLIER MUST BE IN
         RECEIPT OF A WRITTEN PURCHASE ORDER PRIOR TO THE COMMENCEMENT OF WORK. ANY WORK
         PERFORMED PRIOR TO THE ISSUANCE OF A PURCHASE ORDER SHALL BE AT THE RISK OF SUPPLIER.

         1.0     SOW SUMMARY

                              Sponsoring Department            Digital Strategy & Membership (“DSM”)

                AARP          Project ID/Name                  DSM Creative

                              Project Manager’s Name           Kimberly Hardy-Barnes

                              Primary Point of Contact         Tina Tozzi
               Supplier
                              Email Address                    ttozzi@aquent.com

                                                                       Start Date                  End Date
                       Period of Performance
                                                                   September 1, 2023            March 31, 2025

           Total Authorized Fees and Expenses under
                                                               $7,543,229.76
           this SOW (Not to exceed)




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         2.0        GENERAL

         This SOW incorporates the terms and conditions of the Agreement. This SOW together with the Agreement
         constitutes the entire agreement between the parties related to the subject matter hereof. Except as otherwise
         indicated herein, defined terms in this SOW have the same meaning as in the Agreement. If there is a conflict
         between the terms of the Agreement and this SOW, the Agreement will control.

         3.0        PURPOSE/BACKGROUND

         Supplier shall provide outsource services of certain functions, tasks, and activities on a managed services basis.
         Under the general direction of AARP and specifically, AARP's Digital Strategy & Membership (“DSM”)
         department, the Supplier will provide specialty services in support of all marketing efforts and assist with the
         completion of numerous initiatives and projects.

         4.0        DELIVERABLES AND TASKS

         Supplier shall provide each deliverable [D] and perform each of the following tasks [T], (collectively the
         “Services”). Tasks define the key activities to be performed in order to provide the final deliverable.

          Ref. #     Name and Description                                                              Due Date
                                                                                                   September 1, 2023
          D1         Online Community Coordination
                                                                                                through March 31, 2025
                                                                                                    Ongoing through
               T1    Provide day-to-day management of AARP moderation team.
                                                                                                    March 31, 2025
                     Provide day-to-day resource on Lithium moderation tools (forums) and           Ongoing through
               T2
                     Livefyyre moderation tools (article and blog comments).                        March 31, 2025
                     Development and monitoring of detailed moderation policies and                 Ongoing through
               T3
                     procedures.                                                                    March 31, 2025
                     Establish weekly check-ins to review community trends and
                     performance metrics, with recommendations for best practice                    Ongoing through
               T4
                     moderation improvements, superuser cultivation, measurement, and               March 31, 2025
                     user management.
                                                                                                    Ongoing through
               T5    Assist in the creation of a yearly community moderation plan.
                                                                                                    March 31, 2025
                     Provide monthly reporting on moderation activities to be delivered             Ongoing through
               T6
                     within five (5) business days of the month’s end.                              March 31, 2025
                                                                                                   September 1, 2023
          D2          Web Production & Quality Assurance (“QA”)
                                                                                                through March 31, 2025
                     Provide best practices search engine optimization (“SEO”) and
                     engagement optimized web page production to increase the value of
                                                                                                    Ongoing through
               T1    each visitor to the aarp.org website and to prompt engagement.
                                                                                                    March 31, 2025
                     Formats of content to include but not limited to: articles, slide shows,
                     videos, video streaming, tools, forms, and galleries.
                     Program landing pages to be aligned with the AARP brand, using value           Ongoing through
               T2
                     metrics, strategic direction, audience segments and web analytics.             March 31, 2025
                     Provide monthly channel-level and team level metrics reporting,
                     analyzing, charting, and providing of insights and context for channel         Ongoing through
               T3
                     Key Performance Indicators (“KPIs”) for the monthly, yearly, and year          March 31, 2025
                     over year reporting that includes but is not limited to:
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                        •    Unique visits, page views, page visits/visit, organic visits,
                             organic page visits, bounce rate, weekly return visits.
                        • Joins, renews, registrations and subscriptions.
                    3,000 pieces (articles, slide shows, polls, quizzes, infographics,
                    featured videos on pages) produced.
                        • Produce 75% of individual pieces within forty-eight (48) hours           Ongoing through
             T4
                             of receipt of final assets from AARP.                                 March 31, 2025
                        • For fast desk software pieces: produce 75% within four (4)
                             hours upon receipt of final assets.
                    Provide system expertise in Adobe’s AEM (or current version) Content
                    Management System with AARP custom templates, a workflow
                    management tool (“IMP”), Google AdWords and BrightEdge for SEO
                                                                                                   Ongoing through
             T5     keyword research and Omniture’s Site Catalyst (or current version) for
                                                                                                   March 31, 2025
                    metrics reporting:
                        • Both English and Spanish services are required for both the
                             web production and program management services.
                    Produce monthly channel performance reports that include metrics
                    showing the prior month’s traffic, engagement and value delivered.             Ongoing through
             T6
                    Supplier will be responsible for providing this report by the twelfth          March 31, 2025
                    (12th) of each month.
                                                                                                   September 1, 2023
          D3        Project Coordination
                                                                                                through March 31, 2025
                    Provide advanced support for video, SEO, content marketing                      Ongoing through
             T1
                    production, and development.                                                    March 31, 2025
                    Provide AARP with competitive analyses on market trends and help
                                                                                                   Ongoing through
             T2     identify opportunities for AARP to grow the business and deliver value
                                                                                                   March 31, 2025
                    from these areas.
                    Provide team direction and training in the respective areas to                  Ongoing through
             T3
                    continually raise capabilities to leverage related opportunities.               March 31, 2025
                                                                                                   September 1, 2023
          D4        Program Management and Analysis
                                                                                                through March 31, 2025
                    Provide strategic program management services for select digital
                                                                                                   Ongoing through
             T1     promotion, engagement, and conversion initiatives to increase the
                                                                                                   March 31, 2025
                    value of each visitor to the aarp.org website.
                    Manage relations and all testing for content discovery features to
                                                                                                   Ongoing through
             T2     ensure AARP brand alignment with all paid content displayed on site
                                                                                                   March 31, 2025
                    through weekly spot audits.
                    Utilize existing AARP web analytics tools such as Omniture and
                    Outbrain and existing reports from Google Analytics to provide AARP
                    with regular insights which how to drive and support engagement,               Ongoing through
             T3
                    loyalty, and conversion program initiatives. Supplier will also use web        March 31, 2025
                    analytics to track and analyze performance to meet KPIs and AARP
                    organizational goals.
                    Identify aarp.org enhancements, which will drive optimization of the
                    website’s pages and working with the AARP product team on
                                                                                                   Ongoing through
             T4     implementation. All program features, and site enhancements must
                                                                                                   March 31, 2025
                    meet the high standards of usability, editorial quality and effectiveness
                    of the website.

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                    Understand AARP audience segmentation, usage rules and major style            Ongoing through
             T5
                    guidelines required for these services.                                       March 31, 2025
                                                                                                 September 1, 2023
          D5        Digital Marketing Analytics
                                                                                              through March 31, 2025
                    Supplier shall conduct digital analysis and provide insights supporting
                    both desktop and mobile platforms. Supplier shall provide least four
                    (4) analyses per month, and align with DSM’s strategic priorities,
                    including the following:
                         • Membership funnels
                         • Site registration and log in funnels                                  Ongoing through
             T1
                         • Email opt ins                                                         March 31, 2025
                         • Mobile usage
                         • Rewards for good engagement
                         • Sweepstakes performance
                         • Home page performance
                         • Games usage
                    Develop weekly and monthly scorecards that report on digital
                    performance, to include:
                                                                                                 Ongoing through
             T2          • Digital traffic
                                                                                                 March 31, 2025
                         • Conversations (member actions, site registrations, leads to
                            providers, email signups)
                    Develop test plan to include recommendations for optimization, based         Ongoing through
             T3
                    on analyses in T1 and T2.                                                    March 31, 2025
                    Design A/B and multivariate tests supporting site optimization and           Ongoing through
             T4
                    optimization of marketing vehicles.                                          March 31, 2025
                    Analyze and create report on tests upon completion of each test.
                                                                                                 Ongoing through
             T5     Analysis should include winning variants and estimated value in
                                                                                                 March 31, 2025
                    production.
                    Provide cross-functional project management, work with AARP
                                                                                                 Ongoing through
             T6     stakeholders, digital partners, and suppliers to drive the optimization
                                                                                                 March 31, 2025
                    roadmap and priorities.
                    Create and deliver by the fifteenth (15th) day of each month a
                                                                                                 Ongoing through
             T7     monthly scorecard and dashboard on the previous months
                                                                                                 March 31, 2025
                    performance
                    Ensure a minimum of ten (10) tests are launched per month on the             Ongoing through
             T8
                    Test & Target platform.                                                      March 31, 2025
                    Ensure a minimum of five (5) optimization recommendations are
                                                                                                 Ongoing through
             T9     created each month which shall include expected impact and
                                                                                                 March 31, 2025
                    incremental value to AARP.
                                                                                                 September 1, 2023
          D6        Strategic Partnership Consulting
                                                                                              through March 31, 2025
                    Supplier shall identify new partnership opportunities that further            Ongoing through
             T1
                    AARP’s business objectives and evaluation of potential partners.              March 31, 2025
                    Supplier shall negotiate business terms with selected business                Ongoing through
             T2
                    partners.                                                                     March 31, 2025
                    Supplier shall execute new partnership deals that meet AARP’s specific        Ongoing through
             T3
                    business requirements with favorable terms for AARP. Supplier shall           March 31, 2025

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                    also provide project management Services to support partnership
                    launch working with AARP teams.
                    Supplier is responsible for managing, maintaining, and renegotiating
                                                                                                   Ongoing through
             T4     all contracts for existing partnerships ensuring favorable terms for
                                                                                                   March 31, 2025
                    AARP.

             4.1 Service Level Agreement

                  4.1.1   Timing: Supplier will prioritize performance of the Services as may be necessary or as identified
                          and will undertake commercially reasonable efforts to perform the Service within the time
                          specified. AARP acknowledges and agrees that the Supplier’s ability to meet any and all
                          schedules is dependent upon AARP’s prompt performance of its obligations to provide materials
                          and written approvals and/or instructions pursuant to assigned work requests and that any
                          delays in AARP’s performance caused by AARP shall not constitute a breach of Supplier’s
                          obligations hereunder.

                  4.1.2   Supplier Controls Manner and Means in which Services Are Performed: Supplier shall, at all
                          times, remain responsible for the manner and means in which Services are completed under
                          this SOW. The Supplier is solely responsible for the Services under this SOW and shall utilize
                          discretion with regard to the most effective manner and means to conduct Services, including
                          hours of operation.

                          Supplier will provide consultant resource(s) to deliver the Services under this SOW. Supplier
                          retains resource accountability. Supplier shall have thirty (30) days to remediate to AARP’s
                          satisfaction. However, In the event such remediation is unsuccessful, AARP reserves the right to
                          terminate, in whole or in part the Services under this SOW.

                          The Supplier is responsible for conducting employee evaluations and taking actions based on
                          those evaluations. The Supplier is responsible for all personnel responsibilities for workers
                          supplied under this SOW. AARP does not directly or indirectly control or reserve the rights
                          regarding hiring, firing, and other human resources decisions for workers supplied under this
                          SOW. Supplier agrees that it will maintain a core group of assigned personnel under this SOW in
                          efforts to maximize efficiency, productivity, and timely completion of work.

                          The Supplier is responsible for conducting on-site visits to assess and address human resource
                          issues.

                          Workers supplied under this SOW shall not be subject to direction (e.g., when, where, or how
                          the work is to be performed) from AARP regarding the provision of those Services. AARP shall
                          not exercise any direct control over Supplier or Supplier’s employees. AARP shall not provide
                          any training to Supplier. Supplier agrees to immediately bring to the attention of AARP any
                          instance Supplier believes this provision is not being adhered to.

                  4.1.3   Hiring/Non-Solicitation. Supplier agrees not to directly solicit for hire any employee of AARP or
                          its Affiliates without the prior written permission of AARP’s Vice President of Human Resources.
                          This restriction shall not apply to the solicitation or recruitment by Supplier generally in the
                          media, and shall not prohibit Supplier from hiring, without prior written consent, employees of
                          AARP who answer any advertisement or who otherwise voluntarily apply for a publicly posted
                          job opening without having been personally solicited or recruited by Supplier or its
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                          representatives. Supplier's breach of this provision shall entitle AARP to immediately terminate
                          this Agreement and/or any related SOW and pursue such other legal or equitable remedies
                          available to AARP

                 4.1.4    Supplier Must Appoint “Point Person(s)” Responsible for Managing the SOW: The Supplier shall
                          provide AARP with a “Point Person(s)” who will act as the person responsible for all internal and
                          external human resources issues throughout this SOW term. The Supplier appointed Point
                          Person(s) are responsible for coordinating the Services, managing the manner and means of the
                          day to day work, tracking and reporting consumption of hours, and ensuring timely and quality
                          work product under this SOW.

         5.0     ACCEPTANCE CRITERIA

         AARP’s final acceptance is subject to AARP’s review and approval within fifteen (15) days of receipt of the
         deliverables. Acceptance shall not be unreasonably withheld.

         If deliverables are not accepted, AARP shall specify in writing the reason and any corrective actions required
         within fifteen (15) days of receiving the deliverable(s). Once deliverables have been corrected per AARP’s
         written guidance, they will be deemed accepted upon receipt.

         6.0     KEY SUPPLIER PERSONNEL

          Name                                 Title                                 Function
                     Tina Tozzi                Director, Strategic Workforce         Account Manager
                   Melissa Sharples            Senior Agent                          Account Assistant

         7.0     PRICING: FIRM FIXED FEE

         AARP will pay Supplier a not-to-exceed monthly fixed-fee of $419,068.32 during the Period of Performance of
         this SOW to provide the Services outlined herein, unless earlier terminated in accordance with the terms of the
         SOW. The total value invoiced under this SOW shall not exceed $7,543,229.76.

         8.0     EXPENSES

         Supplier will not be entitled to reimbursement of expenses under this SOW.

         9.0     TAXES

         Supplier shall include all applicable taxes as a separate line on their invoice to AARP.

         10.0    SCOPE CHANGES

         Any and all changes in the cost, Services, tasks, deliverables and their delivery dates shall be introduced as a
         written Change Order to this SOW that shall be executed by AARP and by the Supplier before such changes are
         binding. If there is no such execution, such changes may be held to be invalid by AARP. In such case, any
         increased cost necessary to perform out of scope work under this SOW and the resultant deliverables shall be
         solely borne by the Supplier.


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         All rates for the term of this SOW and all Change Orders referencing this SOW shall not increase unless
         specifically addressed in a mutually agreed to Change Order to this SOW.

         Only members of AARP Procurement and Contract Management (PCM) are authorized to sign agreements,
         including Change Orders. Change Orders signed by anyone else are not deemed valid.

         11.0      PLACE OF PERFORMANCE

         The Work associated with this SOW shall be performed in the following AARP location:

             •     AARP’s headquarters at 601 E. Street NW, Washington, DC 22039

         12.0      PERIOD OF PERFORMANCE

         The Work shall begin on September 1, 2023, the Start Date and shall be completed by March 31, 2024, the End
         Date.

         13.0      WORK POLICIES

         Supplier is responsible for providing all necessary equipment needed to provide the Services, including, but not
         limited to, computer workstations to each of its personnel, unless AARP specifically agrees to provide equipment
         in this SOW. Any equipment that is connected to AARP’s network shall be regularly screened for viruses.
         Supplier personnel agree to check in with front desk security upon arrival to any AARP facility and to comply
         with instructions of uniformed security personnel. Supplier represents that it has performed the required
         background checks on all Supplier personnel engaged in providing Services to AARP. Supplier shall take all
         reasonable steps to cooperate with AARP management and staff to accomplish the work assigned. Supplier shall
         do everything possible to foster teamwork and coordination of effort.

         IN WITNESS WHEREOF, the Parties hereto have caused this SOW to be duly executed by their respective
         authorized representatives as of the last date written below.


                                                AARP                                       Aquent, LLC


          Signature:


          Name:             Shannon Tyson
                                                                          Tina M Tozzi

          Title:              VP, Procurement & Contract Management
                                                                          Senior Client Partner

          Date:              12/18/2023 | 8:53 AM EST
                                                                          December 13, 2023




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